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3                                  UNITED STATES DISTRICT COURT
4                             NORTHERN DISTRICT OF CALIFORNIA
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     THE COOKIE DEPARTMENT, INC., a                      Case No.: 4:20-cv-09324-KAW
7    California Corporation,
                                                         [PROPOSED] ORDER RE:
8                           Plaintiff,                   DEFENDANTS’ MOTION TO STRIKE
                             vs.                         JURY DEMAND
9
10   THE HERSHEY COMPANY, a Delaware
     Corporation; ONE BRANDS, LLC, a Foreign
11   Limited Liability Company; AND DOES 1 TO
12   50, INCLUSIVE.

13                          Defendants.

14            The Court, having considered Defendants’ Motion to Strike Plaintiff’s Jury Demand
15   (including any reply brief), Plaintiff’s opposing papers, and argument by counsel (if any), hereby
16   grants the motion. This matter shall be set for a bench trial.
17
18            IT IS SO ORDERED
19
     Dated:
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22                                                  KANDIS A. WESTMORE
                                                    United States Magistrate Judge
23   4880-6674-6163, v. 1


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                    [PROPOSED] ORDER RE: DEFENDANTS’ MOTION TO STRIKE JURY DEMAND
